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                IN THE UNITED STATES DISTRICT COURT
             FOR THE EASTERN DISTRICT OF PENNSYLVANIA

IN RE: ASBESTOS PRODUCTS      :
LIABILITY LITIGATION (No. VI) :          Consolidated Under
                              :          MDL DOCKET NO. 875
DIANNA K. LARSON, ET AL.,     :
                              :
     Plaintiffs               :          Case No. 09-69123
                              :
          v.                  :
                              :          Transferred from the
BONDEX INTERNATIONAL, ET AL., :          Central District of Utah
                              :
     Defendants               :


                                 ORDER

     AND NOW, this 15th day of November, 2010, it is hereby

ORDERED that Defendant Georgia Pacific LLC’s Objections to

Magistrate Judge Angell’s Memorandum Opinion (doc. no. 75) filed

on June 7, 2010 and (doc. no. 78) filed on June 21, 2010 are

OVERRULED.

     It is further ORDERED that Plaintiffs’ Objections to

Magistrate Judge Angell’s Memorandum Opinion (doc. no. 76) filed

on June 7, 2010 are OVERRULED.




                                 AND IT IS SO ORDERED.




                                          S/Eduardo C. Robreno
                                         EDUARDO C. ROBRENO, J.
